
986 So.2d 378 (2007)
Ex parte Anthony EDWARDS.
(In re Anthony Edwards
v.
State of Alabama).
1061523.
Supreme Court of Alabama.
October 26, 2007.
Anthony Edwards, pro se.
Submitted on petitioner's brief only.
SEE, Justice.
We hereby suspend the provisions of Rule 39(g) and (h), Ala. R.App. P., allowing the petitioner and the respondent to file a brief and to request oral argument, and we summarily grant the writ. In Ex parte Gunn, [Ms. 1051754, September 21, 2007] ___ So.2d ___ (Ala.2007), this Court overruled Wells v. State, 941 So.2d 1008 (Ala. Crim.App.2005), to the extent that Wells created a limitation on a trial court's jurisdiction to consider successive motions filed pursuant to § 13A-5-9.1, Ala.Code 1975. The Court of Criminal Appeals in this case relied solely on Wells for its affirmance of the trial court's judgment. Therefore, we reverse the judgment of the Court of Criminal Appeals and remand the case for proceedings consistent with Gunn.
WRIT GRANTED; REVERSED AND REMANDED.[*]
*379 LYONS, WOODALL, SMITH, BOLIN, PARKER, and MURDOCK, JJ., concur.
STUART, J., concurs specially.
COBB, C.J., recuses herself.
STUART, Justice (concurring specially).
See my writing in Ex parte Gunn, [Ms. 1051754, Sept. 21, 2007] ___ So.2d ___, ___ (Ala.2007)(Stuart, J., concurring specially).
NOTES
[*]  Note from the reporter of decisions: On December 14, 2007, after remand from the Alabama Supreme Court, the Court of Criminal Appeals affirmed, without opinion (CR-06-1030).

